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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:12CR147
                       Plaintiff,                 )
                                                  )
      vs.                                         )            ORDER
                                                  )
TOMAS JUAREZ-LOPEZ,                               )
                                                  )
                       Defendant.                 )


      This matter is before the court on the motion of defendant Tomas Juarez-Lopez
(Juarez-Lopez) for an extension of the pretrial motion deadline (Filing No. 31). The motion
does not comply with NECrimR 12.1 (a) and paragraph 9 of the Progression Order (Filing
No. 17) in that the motion is not accompanied by the defendant’s affidavit or declaration
stating that defendant:
      (1)    Has been advised by counsel of the reasons for seeking a continuance;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 31) is :
             (X)       Held in abeyance pending compliance with NECrimR 12.1(a) and
                       Paragraph 9 of the Progression Order. Absent compliance on or
                       before June 20, 2012, the motion will be deemed withdrawn and
                       termed on the docket.
             (     )   Denied.
      IT IS SO ORDERED.


      DATED this 14th day of June, 2012.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
